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 2                             IN THE UNITED STATES DISTRICT COURT

 3                                EASTERN DISTRICT OF CALIFORNIA

 4

 5   UNITED STATES OF AMERICA,                             CASE NO. 1:11-cr-00113-AWI
 6                                Plaintiff,               STIPULATION AND ORDER TO
                                                           CONTINUE SENTENCING HEARING
 7   v.
 8   TONY CHAO FAN LUO,
 9                                Defendant.
10

11          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

12 counsel that the sentencing hearing in the above-captioned matter presently set for October 27, 2014

13 at 1:30 p.m. may be continued to November 17, 2014 at 1:30 p.m. It is further stipulated by and

14 between the parties that the formal objections be filed on or before November 10, 2014.

15          Unforeseeable events that have occurred prevent this matter from proceeding as presently set

16 and necessitate the matter being continued as requested in this stipulation.

17 DATED: October 15, 2014                        /s/ Laurel J. Montoya
                                                  LAUREL J. MONTOYA
18                                                Assistant United States Attorney
19 DATED: October 15, 2014                        /s/ Doron Weinberg
                                                  DORON WEINBERG
20                                                Attorney for Defendant Tony Chao Fan Luo
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     IT IS SO ORDERED.
22
     Dated: October 15, 2014
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                                                SENIOR DISTRICT JUDGE
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